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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                          :
     In re:                                               :    Chapter 11
                                                          :
     Stream TV Networks, Inc., et al.                     :    Bankruptcy No. 23-10763 (AMC)
                                                          :
                               Debtors.                   :    (Jointly Administered)1
                                                          :

         NOTICE OF CLOSING ON SALE OF SUBSTANTIALLY ALL OF THE
     ASSETS OF STREAM TV NETWORKS, INC. AND TECHNOVATIVE MEDIA INC.

         PLEASE TAKE NOTICE that in accordance with the Order (A) Approving the Sale of
 Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances and
 Interests, (B) Authorizing the Trustee to Enter Into and Perform Debtors’ Obligations Under The
 Asset Purchase Agreement, (C) Approving Assumption and Assignment of Certain Executory
 Contracts and Unexpired Leases, and (D) Granting Related Relief, entered on December 9, 2024
 [Docket No. 876] (the “Sale Order”),2 William A. Homony, in his capacity as Chapter 11
 Trustee (the “Trustee”) of Stream TV Networks, Inc. (“Stream”) and Technovative Media Inc.
 (“Technovative,” and collectively with Stream, the “Debtors”) hereby files this Notice of
 Closing (“Notice”) on the sale of substantially all of the Debtors’ assets.

        PLEASE TAKE FURTHER NOTICE that the Debtors closed on the Sale of
 substantially all of their Assets to SeeCubic, Inc. (the “Purchaser”) on January 3, 2025, and
 pursuant to the Asset Purchase Agreement entered into between the Debtors and the Purchaser
 (as modified by that certain Addendum to Asset Purchase Agreement dated January 3, 2025,
 pursuant to and in accordance with paragraph 34 of the Sale Order, the “APA”), the Trustee has
 received as of the date of the Closing a total of Seven Million Five Hundred Thousand Dollars
 ($7,500,000.00) of the Carve-Out.

         PLEASE TAKE FURTHER NOTICE that pursuant to the APA, payment of the
 remaining Five Hundred Thousand Dollars ($500,000.00) of the Carve-Out (the “Final Carve-
 Out Payment”) will be paid to the Trustee by the Purchaser no later than Wednesday, January 15,
 2025, and that the payment of the Final Carve-Out Payment did not prevent the Closing from
 occurring; however, the release of the Creditor Released Parties by the Trustee Releasing Parties
 shall not be effective until the payment of the Final Carve-Out Payment is received by the
 Trustee as set forth above and in the APA, notwithstanding the occurrence of Closing.




 1
   On April 11, 2023, the Court entered an order directing joint administration of the above-captioned cases. (D.I. #81).
 2
   All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Sale Motion and
 the Sale Order.



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         PLEASE TAKE FURTHER NOTICE that the Carve-Out shall be held by the Trustee
 and will be distributed in accordance with further Order(s) of the Bankruptcy Court, a confirmed
 Plan of Liquidation and/or the Bankruptcy Code and Bankruptcy Rules.


 Dated: January 6, 2025          By: /s/ Michael D. Vagnoni
                                     Edmond M. George, Esquire
                                     Michael D. Vagnoni, Esquire
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                                      Counsel to William A. Homony Chapter 11 Trustee




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